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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                 Criminal Action No.
         v.
                                                 1:17-CR-00224-AT-CMS
   ALLEN J. PENDERGRASS



                               BILL OF PARTICULARS

   The United States of America, by Byung J. Pak, United States Attorney for the
Northern District of Georgia, and Jeffrey A. Brown, Assistant United States

Attorney, hereby files this Bill of Particulars with respect to financial transactions
Defendants engaged in to promote the mail fraud scheme charged in Counts one
through five of the Indictment.

                                           (1)
      As alleged in Count six of the Indictment of the above numbered case,
Defendants conducted financial transactions involving the proceeds of the mail

fraud scheme alleged in Counts one through five of the Indictment. Moreover,
the Indictment alleges that Defendants deposited fraudulently obtained funds
into bank accounts they controlled and then withdrew funds for personal benefit

without returning proceeds to the rightful owners. (Doc. 1)




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                                        (2)
      The government provided bank records in discovery showing that excess
funds fraudulently obtained from the City of Atlanta were deposited in bank
accounts controlled by Defendants. These bank records show that Defendant
used stolen funds from the City of Atlanta to pay himself, co-defendant and
employees of his businesses that allowed the businesses to engage in the
fraudulent mail fraud scheme. The financial transactions that were used to
promote the mail fraud scheme, include, but were not limited to the following

transactions:
       On May 15, 2013, Defendant Pendergrass deposited a fraudulently
         obtained check in the amount of $26,874.42 from the City of Atlanta in
         Wells Fargo Bank account number XXXX3556. On May 16, 2013,
         Defendant Pendergrass signed checks payable to Terrell L. McQueen in
         amounts of $3,000.00 and $5,602.00, labeled as commissions draw on

         Wells Fargo Bank account number XXXX3556. On that same date,
         Defendant Pendergrass also signed checks payable to E.F. and D.B.,
         employees or independent contractors assisting Defendants in the mail
         fraud scheme.
       On June 20, 2013, Defendant Pendergrass deposited four checks that
         were proceeds of the Defendants mail fraud scheme. After the funds
         were deposited in Wells Fargo Bank account number xxxx3556,
         Defendant Pendergrass used fraud proceeds to fund checks payable to
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         employees/independent contractors working in mail fraud scheme,
         including himself, co-defendant Terrell McQueen, A.P., E.F., D.B., and
         other companies he controlled.
                                          (3)
      In addition to paying employees that worked with Defendant’s companies,
Defendants also used stolen funds to operate his fraudulent asset recovery
business, including using funds obtained in mail fraud scheme to pay fees to
obtain lists of excess funds, purchase postage, and pay business expenses as

reflected in purchases made from Wells Fargo Bank account number ending in
xxxx3556 in July and August, 2013.
Dated: November 4, 2019

                                          Respectfully submitted,

                                          B YUNG J. P AK
                                                United States Attorney



                                     /s/J EFFREY A. B ROWN
                                                Assistant United States Attorney
                                          Georgia Bar No. 088131
                                          Jeffrey.A.Brown@usdoj.gov




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                             Certificate of Service

   The United States Attorney’s Office served this document today by filing it
using the Court’s CM / ECF system, which automatically notifies the parties and
counsel of record.

                            Saraliene S. Durrett
                Counsel for Defendant Allen J. Pendergrass




November 4, 2019

                                         /s/ Jeffrey A. Brown

                                         Jeffrey A. Brown
                                         Assistant United States Attorney




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